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                             IN THE UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF ARKANSAS

UNITED STATES OF AMERICA

vs.                                                   4:04CR00141(1)(2)(4)(7)(8)(9)(11)(12)
                                                            (13)(14)(15)(16)(17)(19)(22)

J. C. COLLINS, ET AL.


                                  FINAL ORDER OF FORFEITURE

       WHEREAS, on March 9, 2006, this Court entered a Preliminary Order of Forfeiture, ordering

defendant to forfeit his interest in the following:

       UNITED STATES CURRENCY

       a.      $ 800.00 in U.S. currency sent via Western Union wire money transfer number

               8631886345 in the amount of $ 800.00, from sender Cindy Ponder, P.O. Box 131,

               Adona, Arkansas, directed to Payee Jason Collins, 10126 Topanga CYN, Chatsworth,

               California;

       b.      $999.00 in U.S. currency sent via Western Union wire money transfer number

8630243174 in the amount of $ 999.00, from sender Cindy Ponder, 623 Locust, Adona, Arkansas,

directed to Payee J.C. Collins, Chatsworth, California;

       c.      $ 700.00 in U.S. currency sent via Western Union wire money transfer number

8634925517 in the amount of $ 700.00, from sender Chasity West, 106 Lawrence Landing, Conway,

Arkansas, directed to Payee Jason Collins, 23556 Brooks Road, Chatsworth, California;

       d.      Approximately $11,019 discovered and seized on October 14, 2003, from J.C.

COLLINS, a/k/a Jason C. Collins, at the Little Rock National Airport;
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CONVEYANCE

        a.     One 1987 model Winnebago Travelmaster, vehicle identification number

1GBKP37WXH3306296, California registration in the name of J.C. Collins, 10126 Topanga Canyon

Boulevard, Chatsworth, California 91311, California License Number 2DLT351.

        REAL PROPERTY

        All real property and structures located at 1706 County Road 3020, Altus, Johnson County,

Arkansas, located at —

A part of the southwest quarter (SW/4) of the southwest quarter (SW/4) of Section 29, Township 10
north, Range 25 west, Johnson County, Arkansas, more particularly described as follows:

Beginning at the southwest corner of said southwest quarter (SW/4) of the southwest quarter (SW/4),
thence south 89 degrees 48 minutes 30 seconds east - 1321.06 feet, thence north - 476.24 feet to the
approximate centerline of a county road, thence along said centerline south 82 degrees 39 minutes 48
seconds west - 437.85 feet, thence north 60 degrees 29 minutes 59 seconds west - 432.50 feet, thence
north 75 degrees 35 minutes 14 seconds west - 247.43 feet, thence south 89 degrees 25 minutes 32
seconds west - 270.73 feet to the west line of said Section 29, thence leaving said centerline south -
687.75 feet to the point of beginning and containing 16.918 acres more or less;

Also, the northwest quarter of the northwest quarter (NW/4 NW/4) of Section thirty-two (32),
Township ten (10) north, Range twenty-five (25) west;

Also, the south half of the northwest quarter of the northwest quarter (S/2 NW/4 NW/4) of Section
thirty-two (32), Township ten (10) north, Range twenty-five (25) west, containing 20 acres, more or
less;

Also, a part of the southwest quarter (SW/4) of the southwest quarter (SW/4) of Section 29,
Township 10 north, Range 25 west, Johnson County, Arkansas, more particularly described as
follows:

From the southeast corner of said southwest quarter (SW/4) of the southwest quarter (SW/4), thence
north 266.25 feet to the point of beginning, thence north 210.00 feet to the approximate centerline of
County Road #6, thence along said centerline south 82 degrees 39 minutes 48 seconds west 210.00
feet, thence leaving said centerline south 210.00 feet, thence north 82 degrees 39 minutes 48 seconds


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east 210.00 feet to the point of beginning and containing 1.00 acre, more or less;

Also, a part of the southwest quarter (SW/4) of the southwest quarter (SW/4) of Section 29,
Township 10 north, Range 25 west, Johnson County, Arkansas, more particularly described as
follows:

From the southeast corner of said southwest quarter (SW/4) of the southwest quarter (SW/4), thence
north 66.25 feet to the point of beginning, thence north 200.00 feet, thence south 82 degrees 39
minutes 48 seconds west 210.00 feet, thence south 200.00 feet, thence north 82 degrees 39 minutes
48 seconds east 210.00 feet to the point of beginning and containing 0.96 acre, more or less

         WHEREAS, the United States caused to be published in the Arkansas Democrat Gazette, a

newspaper of general circulation, notice of this forfeiture and of the intent of the United States to

dispose of the property in accordance with the law and as specified in the Preliminary Order, and

further notifying all third parties of their right to petition the Court within thirty (30) days for a

hearing to adjudicate the validity of their alleged legal interest in the property;

         WHEREAS, the United States also provided actual notice to all interested parties including

Claimant Jerry C. Eubanks, the current owner of the 1987 model Winnebago Travelmaster, vehicle

identification number 1GBKP37WXH3306296, which he purchased from Defendant J. C. Collins..

         WHEREAS, Jerry C. Eubanks has filed a claim asserting his respective ownership interests

in the 1987 model Winnebago Travelmaster, vehicle identification number 1GBKP37WXH3306296;

         WHEREAS, the United States recognizes the ownership interests of Jerry C. Eubanks; and




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        WHEREAS, no claims were filed by any other persons with respect to any of the property

described herein;

        NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED that the

Preliminary Order of Forfeiture is amended to recognize the ownership interests of Jerry C. Eubanks

as to the 1987 model Winnebago Travelmaster, vehicle identification number

1GBKP37WXH3306296.

        IT IS FURTHER ORDERED that all right, title, and interest in all of the remaining property

set forth above is hereby forfeited to the United States, and the United States Marshal shall dispose

of such property according to law.



        SO ORDERED this         16      day of May , 2006.



                                                       __________________________________
                                                       UNITED STATES DISTRICT JUDGE




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